

ORDER

PER CURIAM:
AND NOW, this 9th day of October, 1997, Arlen B. Mekler having been suspended from the practice of law in the State of Delaware for a period of six months by Order of the Supreme Court of the State of Delaware dated October 15, 1996, which suspension was to run consecutive to a one-year Delaware suspension entered on November 27, 1995; the said Arlen B. Mekler having been directed on July 29, 1997, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and upon consideration of the responses filed, it is
ORDERED that Arlen B. Mekler is suspended from the practice of law in this Commonwealth for a period of six months, to run consecutive to the one-year reciprocal suspension entered by this Court on June 6, 1996, at No. 194 Disciplinary Docket No. 3, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
